Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 1 of 21 PageID #: 1




                             UNITED STATES DISTRICT COURT

                             EASTERN DISTRICT OF NEW YORK




Michael J. House,Inventor,                         cv 23-0071
Licensed Combustion Stationary Engineer                     COMPLAINT FOR PATENT
   Class Unlimited HPWR,                                     INFRINGEMENT

Environmentalist.                    DGARCY hall,j. jury trial demanded
                      Plaintiff,
                                   POLLAK, M.J.
         V.

General Electric Company, GE Aviation a Subsidiary of General
Electric Company,GE Aerospace a Subsidiary of General Electric Company,

CFM International a Subsidiary of General
Electric Company, a New York Corporation,

American Airlines Group Incorporation., a

Delaware Corporation, Southwest Airlines Co. a
Texas Corporation, Delta Air lines Inc. a Delaware
Corporation, United Airlines Holdings Inc. a Delaware
Corporation, JetBlue Airways Incorporated, a Delaware
Corporation, Spirit Airlines Inc. a Delaware
Corporation, Eastern Airlines LLC. A Delaware
Corporation.
                       Defendants.

    Plaintiff Michael J. House, Inventor.("Mr. House"), Complains and Alleges as Follows
Against Defendants: General Electric Company, GE Aviation, GE Aerospace,
CFM International, American Airlines Group Incorporated, Southwest Airlines Co., Delta Air
Lines Inc., United Airlines Inc. JetBlue Airways Incorporated, Spirit Airlines Inc., Eastern

Airlines LLC.(Collectively,"Defendants"), avers as follows:
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 2 of 21 PageID #: 2




                               NATURE OF THE LAWSUIT

   1.This is an action for patent infringement arising under the patent laws ofthe United States,
  Title 35, United States Code,including 35 U.S.C. §§ 271 and 281-285. This Court has
  Exclusive subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 138(a).
  2.   Mr. House revolutionized the market for all combustion devices. Mr. House's iconic

  U.S. Patented Invention Process known as("Multi All Fuel Processor System and Method of
  Pretreatment For All Combustion Devices"). A Process System and Method for Pretreating
  All Fuels prior to Combustion ofany Combustion device such as an engine in which fuel in
   A liquid state is contained in a high pressure chamber and superheated to a state ofElevated
  Temperature and Pressure. This Process Holds True For All Fuels and Combustion Devices.
  This Process Will allow ALL FUELS to bum more cleanly and efficiently and will promote
  optimum combustion making it a universal process that can be adapted to ALL New and
  existing needs for total energy use.
  3. Mr. House communicated with GE Aviation and General Electric Company in 1998

       while Patent Pending status with the U.S. Patent office. Mr. House Talked directly to

       Margaret M.Todd the head of Submitted ideas and staff engineer and Disclosed and
       sign letters ofsubmission with direct access to Mr. Houses Method Invention Process.
       All letters ofcommunication are documented through the U.S. Post Office certified and
       postmarked and dated proofshown in exhibit 2.

  4. GE Aviation, GE Aerospace, CFM Intemational and General Electric Company has
       systematically copied Mr. House's U.S. Patented Method Process invention and Made
       this process an integral part oftheir combustion devices new and existing from this date
       1998 forward.

                                            PARTIES

  5. Plaintiff Mr. House is an individual residing at 27855 California Dr. N.W., Lathrup
       Village, Michigan 48076.

  6. On information and belief, defendant General Electric Company is a New York
       corporation having its principal place of business at 5 Necco St, Boston, MA 02210.
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 3 of 21 PageID #: 3




  7. Defendant GE Aviation is New York Corporation having its principle place of business
      at 1 Neumann Way, Cincinnati, Ohio,45215.

  8. Defendant GE Aerospace is a New York Corporation having its principle place of
      business at 1 Neumann Way,Cincinnati, Ohio,45215.
  9. Defendant CFM International is a New York Corporation having its principle place of
      Business at 1 Neumann Way,Cincinnati, Ohio,45215.
  10. Defendant American Airlines Group Incorporated is a Delaware Corporation having its
      principle place of business at 4333 Amon Carter Blvd. Fort Worth,TX,76155.
  11. Defendant Southwest Airlines Co. is a Texas Corporation having its principle place of
      business at 2702 Love Field Dr., Dallas TX,75235.

  12. Defendant Delta Air Lines Inc. is a Delaware Corporation having its principle place of
      business at 1020 Cargo Service Rd., Atlanta, GA,30337.
  13. Defendant United Airlines Holdings Inc. is a Delaware Corporation having its principle
      place of business at 233 S Wacker Dr., Chicago,IL,60606.
  14. Defendant JetBlue Airways Incorporated is a Delaware Corporation having its principle
      place of business at 27-01 Queens Plaza North, Long Island, New York, 11101- 4020.

  15. Defendant Spirt Airlines Inc.is a Delaware Corporation having its principle place of
      Business at 2800 Executive Way, Miramar,FL,33025.

  16. Defendant Eastern Airlines LLC.Is a Delaware Corporation having its principle place of
      Business 550 E Swedesford Rd. Ste 210 Wayne,PA. 19087 - 1620



                                 JURISDICTION AND VENUE

  17. This Court has jurisdiction over each ofthe Defendants.
  18. Venue is proper in this District pursuant to 28 U.S.C. §§ 1391,(b), 1391(c)and 1400(b)
  19. The appropriateness of venue is evaluated as ofthe time the complaint is filed. At time
      this action is filed on December,28,2022 controlling Federal Circuit precedent in YE
      Holding Corp. v. Johnson Gas Appliance Co. 917 F.2d 1574(Fed. Cir. 1990), held that
      venue was proper as to a corporate defendant in any judicial district in which that
      defendant is subject to personal jurisdiction.

                                                                                                3
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 4 of 21 PageID #: 4




  20. This Court has jurisdiction over General Electric Company, GE Aviation, GE Aerospace,
       CFM International, American Airlines Group Incorporated, Southwest Airlines
  Co., Delta Air Lines Inc., United Airlines Holdings Inc., JetBlue Airways Incorporated,
  Spirit Airlines Incorporated and Eastern Airlines LLC. At least those defendants sold.
  Offered for sale, used, or imported infringing(Multi All Fuel Processor System And Method
  OfPretreatment For All Combustion Devices)into this District, or caused the same through
  their affiliates or contractors.

  21.General Electric Company, GE Aviation, GE Aerospace and GE CFM International has
  Committed acts ofinfringement in this District, including articles ofincorporation address
  Filed in this District, Including the sale, offer for sale, use and/or importation ofinfringing
  Jet Engines, GE9x Jet Engines, GEnx Jet Engines, GE CFM LEAP Jet Engines, GE CF6 Jet
  Engines, GE CFM56 Jet Engines, GE CF34 Jet Engines.

  22. As ofthis filing ofComplaint on December,28,2022 General Electric Company and
  Subsidiaries, GE Aviation, GE Aerospace and GE CFM International All have articles of
  Incorporation Filed in New York, The Secretary of State of New York is designated as the
  Agent of the Corporation upon whom process against it may be served and the Post Office
  Address to which the Secretary shall mail a copy ofsuch process served upon him or her
  Give President, Litigation, General Electric Company,5 Necco Street, Boston MA 02210.
  Secretary of State New York Department of State Office at One Commerce Plaza,99
   Washington Avenue, Albany, NY 12231. Making Venue proper.

  23. Venue is proper as to CFM International 50/50 Franco- American joint venture
  Between GE Aviation and Safiun Aircraft Engines pursuant to 28 U.S.C. § 1391,(b),(3)

  Because CFM International is a France corporation, is "a defendant not resident in the

  United States" and may be sued in any judicial district. Because CFM International transacts

  Business vrithin this District and offers for sale, use and or/ importation ofinfringing

  Products in this District products that infringe on Mr. House's Patent. In addition, venue is
   proper because CFM International conducts business at JFK International Airport and Mr.
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 5 of 21 PageID #: 5




  House Suffered harm in this District. Moreover, a Substantial part ofthe events giving rise
  to the claims occurred in this District.

  24. Venue is proper within this District under 28 U.S.C. § 1391,(b)and(c)because
  American Airlines Group Incorporation transacts business within this District and offers for
  Sale and use in this District products that infnnge on Mr. House's patent. In addition, venue
  is proper because American Airlines Group Incorporation conducts business at JFK Airport
  By providing flights, those flights usejet engines sold by defendants GE Aviation, GE
   Aerospace and CFM International and those jet engines practice plaintiffs Method when
   used. Hanger 10 RM 100, Jamaica, NY,11430. And Mr. House Suffered harm in this
   District. Moreover, a Substantial part ofthe events giving rise to the claims occurred in this
   District.

  25. Venue is proper within this District under 28 U.S.C. § 1391,(b)and(c)because
  Southwest Airlines Co. transacts business within this District and offers for sale and use in

  this District products that infringe on Mr. House's patent. In addition, venue is proper
  because Southwest Airlines Co. conducts business at LaGuardia Airport, By providing
  flights, those flights use jet engines sold by defendants GE Aviation, GE Aerospace and
  CFM International and those jet engines practice plaintiffs Method when used at 280 East
  LaGuardia Airport, East Elmhurst NY 11379. And Mr. House Suffered harm in this District.
  Moreover, a Substantial part ofThe Events giving rise to the claims occurred in this District.
  26.Venue is proper within this District under 28 U.S.C. § 1391,(b)and(c) because
   Delta Air lines Inc. transacts business within this District and offers for sale and use in this

   District Products that infringe on Mr. House's patent. In addition, venue is proper because
   Delta Air lines Inc. conducts business at JFK International Airport Terminal 4 Queens,NY
   11430 And Mr. House Suffered harm in this District. Moreover, a Substantial part ofthe
   Events Giving rise to the claims occurred in this District.


   27. Venue is proper within this District under 28 U.S.C. § 1391,(b)and (c) because United
   Airlines Holdings Inc. transacts business within this District and offers for sale
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 6 of 21 PageID #: 6




  And use in this District Products that infringe on Mr. House's patent. In addition, venue is
  Proper because United Airlines Holdings Inc. conducts business at JFK International Airport
  Corporate office United Airlines Building, 71 Old Rockaway Blvd. New York 11430. And
  Mr. House Suffered harm in this District. Moreover,a substantial part ofthe Events Giving
  Rise to the claims occurred in this District.

  28. Venue is proper within this District under 28 U.S.C. § 1391 (b)and(c)because JetBlue
  Airways Incorporated transacts business within this District and offers for sale and use in
  This District Products that infringe on Mr. House's patent. In addition, venue is Proper
  Because JetBlue Airways Incorporated conducts business at JFK Intemational Airport
  Terminal,5, Jamaica, New York, 11422. And Mr. House Suffered Harm in this District.
  Moreover,a substantial part ofthe events Giving Rise to the claims occurred in this District.
29. Venue is proper within this District under 28 U.S.C. § 1391 (b)and (c) because Spirit
   Airlines Inc. transacts business within this District and offers for sale and use in

  This District Products that infringe on Mr. House's Patent. In addition, venue is proper
  Because Spirit Airlines Inc. conducts business at LaGuardia Airport, Terminal A,94-00
  Grand Central Pkwy. East Elmhurst NY. 11371. And Mr. House Suffered Harm in this
   District. Moreover, a substantial part ofthe events Giving Rise to claims occurred in this
   District.

  30.Venue is proper within this District under 28 U.S.C. § 1391 (b)and(c)because Eastern
  Airlines     LLC. Transacts business within this District and offers for sale and use in this

   District Products that infringe on Mr. Houses Patent. In addition, venue is proper because
  Eastern Airlines Inc. conducts business at JFK Intemational Airport 1 Central Terminal Area
   #26,Queens, NY, 11430. And Mr. House Suffered Harm in this District. Moreover,a
   Substantial part ofthe events Giving Rise to claims occurred in this District.




                                               FACTS
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 7 of 21 PageID #: 7




 31. Mr. House is the owner of all rights, title and interest in United States Patent

    No.7,140,873CUe '873 Patent"), entitled "MULTI ALL FUEL PROCESSOR SYSTEM
    AND METHOD OF PRETREATMENT FOR ALL COMBUSTION DEVICES"issued

    by The United States Patent and Trademark Office on November 28,2006,a copy of
     which Is attached as Exhibit 1.

32. General Electric Company markets, produces, distributes, sells, uses and offers to sell in
    The United States and or imports into the United States '873 Patent"MULTI ALLFUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL OMBUSTION

   DEVICES"including for example. Jet Engines, GE9x Jet Engines, GEnx Jet Engines, GE
   CFM Leap Jet Engines, GE CF6 Jet Engines, GE CFM56 Jet Engines, GE90 and GE CF34
   Jet Engines.

 33. GE Aviation Company markets, produces, distributes, sells, uses and/ or offers to sell in
   The United States and or imports into the United States '873 Patent"MULTI ALL FUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"Including for example Jet Engines, GE9x Jet Engines, GEnx
   Jet Engines, GE CFM Leap Jet Engines, GE CF6 Jet Engines, GE CFM56 Jet Engines,
   GE90 and GE CF34 Jet Engines.

 34. GE Aerospace markets, produces, distributes, sells, uses and/ or offers to sell or offers to
   Sell in the United States and or imports into the United States '873 Patent"MULTI ALL
   FUEL PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"including for example Jet Engines, GE9x Jet Engines, GEnx
   Jet Engines, GE CFM Leap Jet Engines, GE CF6 Jet Engines, GE CFM56 Jet Engines,
   GE90 and GE CF34 Jet Engines.

 35. CFM International markets, produces, distributes, sells uses and/ or offers to sell
   In the United States and or imports into the United States '873 Patent"MULTI ALL FUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"including for example CFM LEAP Jet Engines, CFM56
   Jet Engines.
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 8 of 21 PageID #: 8




36. American Airlines Group Incorporation markets, produces, distributes, sells, uses and/
   Or Offers to sell in the United States and/ or imports into the United States '873 Patent
  "MULTI ALL FUEL PROCESSOR SYSTEM AND METHOD OF PRETREATMENT

   FOR ALL COMBUSTION DEVICES"Including for example General Electric Co. and
   Subsidiaries Jet Engines being used on Fleet Aircrafts, Boeing 737 CFM56 Jet Engines,
   Boeing 747 GEnx Jet Engines, Boeing 767 GECF6 Jet Engines, Boeing 111 GE9x,GE90
   Jet Engines,Boeing 787 GEnx Jet Engines, A320 CFM56 Jet Engines, A330 GE CF6 Jet
   Engines. Boeing 737 MAX CFM LEAP Engines.
37. Southwest airlines Co. markets, produces, distributes, sells, uses and/ or offers to sell in the
    United States and/ or import into the United States '873 Patent"MULTI ALL FUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"Including for example General Electric Co. and Subsidiaries
   Jet Engines being used on fleet Aircrafls, Boeing 737 Family CFM 56 Jet Engines,737-700
   6 CFM56 Jet Engines, 737-800 CFM56 Jet Engines, Boeing MAX 7 CFM LEAP Jet
   Engines, Boeing 737 Max 8 CFM LEAP Jet Engines.
 38. Delta Air Lines Inc. markets, produces, distributes, sells uses and/ or offers to sell in the
   United States and/ or import into the United States '873 Patent"MULTI ALL FUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"Including for example General Electric Co. and Subsidiaries
   Jet Engines being used on fleet Aircrafls Airbus and Boeing Family Aircrafls, Boeing 737
   NG/ Max CFM LEAP Jet Engines, Airbus A319 CFM56 Jet Engines, A320 CFM56 Jet
   Engines, A321 CFM56 Jet Engines, A330 CF6 Jet Engines, Boeing 767 GE CF6 Jet
   Engines.

 39. United Airlines Holdings Inc. markets, produces, distributes, sells uses and/ or offers to
   Sell in the United States and/ or import into the United States '873 Patent"MULTI ALL
   FUEL PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL
   COMBUSTION DEVICES"Including for example General Electric Co. and Subsidiaries
   Jet Engines being used on fleet Aircrafls, Boeing 787 GEnx and GE9x Jet Engines, Boeing
   111 GE90 Jet Engines, Boeing 757 GE CF6 Jet Engines,EMB 170 & 175 GE
                                                                                                     8
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 9 of 21 PageID #: 9




   CF34 Jet Engines. Boeing 737's CFM LEAP & GE CFM56 Jet Engines.
40. JetBlue Airways Incorporated markets, produces, distributes, sell uses and/ or offers to
   Sell in the United States and/ or import into the United States '873 Patent"MULTI ALL
   FUEL PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"Including for example General Electric Co. and Subsidiaries
   Jet Engines being used on fleet Aircrafls, Airbus A320 CFM56 Jet Engines, Airbus 321
   CFM56 Jet Engines,Embraer El90 GE CF34.
41. Spirt Airlines Inc. markets, produces, distributes, sell uses and/ or offers to sell in the
   United States and/ or import into the United States '873 Patent"MULTI ALL FUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREARMENT FOR ALL

   COMBUSTION DEVICES"Including for example General Electric Co. and Subsidiaries
   Jet Engines being used on fleet Aircrafls, Airbus A320 CFM56 Jet Engines, Airbus A321
   CFM56 Jet Engines, Boeing 737 CFM56 Jet Engines.
42. Eastern Airlines LLC. Markets, produces, distributes sell uses and/ or offers to sell in
   The United States and/ or import into the United States '873 Patent"MULTI ALL FUEL
   PROCESSOR SYSTEM AND METHOD OF PRETREATMENT FOR ALL

   COMBUSTION DEVICES"Including for example General Electric Co. and Subsidiaries
   Jet Engines being used on fleet Aircraft, Boeing 767 GE CF6 Jet Engines, Boeing 111 GE90
   Jet Engines.
                                               BACKGROUND

                               Mr. House's Intellectual Property Rights

                                   Mr. House's Utility Process Patent



 43. Mr. House has protected his innovative invention process and cutting-edge technologies
   Through a broad range of intellectual property rights. Among the patent that Mr. House has
   Been awarded a utility process patent listed below, attached as Exhibit 1,to which Mr. House
   owns all the rights, title, and interest.
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 10 of 21 PageID #: 10




              Patent Number                                               Title

    US 7,140,873 (the "'873 Patent")                MULTI ALL FUEL PROCESSOR SYSTEM

                                                    AND METHOD OF PRETREATMENT FOR

                                                    ALL COMBUSTION DEVICES




                                     FIRST CLAIM FOR RELIEF

                   (Infringement ofthe '873 Patent bv General Electric Companvl

  44. General Electric Company, makes, produces, distributes, uses, offers to sell, and/ or sells in

     The United States and or imports into The United States products that practice the

     invention '873 Patent, including, for example the Jet Engines, GE9x Jet

    Engines, GEnx Jet Engines, GE CFM Leap Jet Engines, GE CF6 Jet Engines, GE CFM56
    Jet Engines, GE 90 Jet Engines_and GE CF34 Jet Engines. EXHIBITS,1,2,3,4,5,6,7,8,9,10

    Are documentation ofthese infringements with EXHIBITS,3,4,Provided patent

    infringement claim charts produced professionally by 3'^'' party consultant.
  45. General Electric Company has infringed and continues to infringe the '873 Patent
    Directly or through acts ofcontributory infringement or induced in violation of35
    U.S.C. § 271. Whenever jet engines are used they perform each and every step of
    the '873 Patent. Accordingly, General Electric Company used the jet engines they

    directly infringed the '873 Patent in violation of35U.S.C. § 271 (a).

    General Electric Company induces infringement ofthe '873 Patent by
    encouraging its airline customers to use the jet engines despite knowing that any
    use ofthese jet engines is an infringement ofthe '873 Patent in violation of35
    U.S. C.§ 271 (b).

    General Electric Company has contributed to the infringement ofthe '873 Patent

    By its airline customers by selling these jet engines which are not suitable for
    substantial non infringement use, because every use ofthese jet engines performs
    The Patented Method of The '873 Patent in violation of35 U.S.C. § 271 (c).

 46. General Electric Company's infringement has occurred with knowledge ofthe

                                                                                                 10
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 11 of 21 PageID #: 11




   '873 Patent and has been willful.

 47. Mr. House is informed and believes, and on that basis alleges, that General Electric

    Company has gained profits by virtue ofits mfringement ofThe'873 Patent.

 48. General Electric Company's acts ofinfringement have caused damages to Mr. House, And
     Mr. House is entitled to recover from General Electric Company the damages sustained by
     Mr. House as a result of General Electric Company's wrongful acts.



                                  SECOND CLAIM FOR RELIEF

               (Infringement ofthe '873 Patent bv GE Aviation and GE Aerospace)

  49. GE Aviation and GE Aerospace, makes, markets, produces, distributes, uses, offers
    To sell, and/ or sells in The United States and or imports into The United States products

    That practice the invention '873 Patent, including,for example the Jet Engines, GE9x Jet
    Engines, GEnx Jet Engines, GE CFM Leap Jet Engines, GE CF6 Jet Engines, GE CFM56
    Jet Engines, GE90 Jet Engines and GE CF34 Jet Engines. EXHIBITS,1,2,3,4,5,6,7,8,9,10
    Are documentation ofthese infringements with EXHIBITS,3,4,Provided patent
    Infringement claim charts produced professionally by 3^^ party Consultants.
  50. GE Aviation and GE Aerospace has infringed and continues to infnnge the '873 Patent
     Directly or through acts ofcontributory infringement or induced in violation of35 U.S.C.§
     271. Whenever jet engines are used they perform each and every step ofthe '873 Patent.
     Accordingly, GE Aviation and GE Aerospace used the jet engines they directly infringed
     the '873 Patent in violation of35 U.S.C. § 271 (a).

     GE Aviation and GE Aerospace induces infringement ofthe '873 Patent by encouraging its
     airline customers to use these jet engines despite knowing that any use ofthese jet engines
     is an infringement ofthe '873 Patent in violation of35 U.S.C. § 271,(b).
     GE Aviation and GE Aerospace has contributed to the infringement ofthe '873 Patent by
     its airline customers by selling these jet engines which are not suitable for substantial non



                                                                                                 11
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 12 of 21 PageID #: 12




     infringement use, because every use ofthese jet engines performs The Patent Method of
     The '873 Patent in violation of35 U.S.C. § 271.,(c).

  51. GE Aviation and GE Aerospace's infringement has occurred with knowledge ofthe

    '873 Patent and has been willful.

  52. Mr. House is informed and believes, and alleges, that GE Aviation and GE Aerospace

    Has gained profits by virtue ofits infringement of The '873 Patent.

  53. GE Aviation and GE Aerospace's act ofinfringement have caused damages to Mr.
    House,and Mr. House is entitled to recover from GE Aviation and GE Aerospace the
    Damages sustained by Mr. House as a result of GE Aviation and GE Aerospace's wrongful
    Acts.




                                     THIRD CLAIM FOR RELIEF

      rinfh'npement ofthe '873 Patent bv GE Aviation. GE Aerospace and CFM International)
  54. GE Aviation, GE Aerospace, and CFM International, makes, markets, produces.
      Distributes, uses, offers to sell, and/ or sells in The United States and or imports into The

    United States products that practice the invention '873 Patent, including, for example the
    Jet Engines, CFM LEAP jet Engines, CFM56 Jet Engines. EXHIBITS,1,2,3,4,5,6,7,8,9,10
    Are documentation ofthese infringements with EXHIBITS,3,4,Provided patent
    infringement claim charts produced professionally by 3*^^ party Consultants.
  55. GE Aviation, GE Aerospace and CFM International has infringed and continues to

    Infringe The '873 Patent directly or through acts of contributory infnngement or induced In
    violation of35 U.S.C.§ 271.Wheneverjet engines are used they perform each and every
    step ofthe '873 Patent. Accordingly, GE Aviation, GE Aerospace and CFM International
    used these jet engines they directly infringed the '873 Patent in violation of35 U.S.C. §
    271 (a).
    GE Aviation, GE Aerospace and CFM International induces infringement ofthe '873
    Patent by encouraging its airline customers to use these jet engines despite knowing that
    any use ofthese jet engines is an infringement ofthe '873 Patent in violation of35 U.S.C.
                                                                                                      12
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 13 of 21 PageID #: 13




    §271 (b).

    GE Aviation, GE Aerospace and CFM International has contributed to the infringement of
    the '873 Patent by its airline customers by selling these jet engines which are not suitable
    for substantial non injfringement use, because every use ofthese jet engine performs The
    Patented Method ofThe '873 Patent in violation of35 U.S.C. § 271 (c).

  56. GE Aviation, GE Aerospace and CFM International's infringement has occurred with

    Knowledge ofThe '873 Patent and has been willful.
  57. Mr. House is informed and believes, and on that basis alleges, that GE Aviation, GE
     Aerospace and CFM Intemational has gained profits by virtue ofits infnngement ofThe

    '873 Patent.

  58. GE Aviation, GE Aerospace and CFM International's acts ofinfringement have caused
     damages to Mr. House, and Mr. House is entitled to recover from GE Aviation, GE
    Aerospace and CFM Intemational the damages sustained by Mr. House as a result of

    GE Aviation, GE Aerospace and CFM intemational's wrongfiil acts.



                                  FOURTH CLAIM FOR RELIEF

           (Infringement of The '873 Patent bv American Airlines Group Incorporation)

  59. American Airlines Group Incorporation, makes, markets, produces, distributes, uses, offers
    To sell, and/ or sells in The United States and or imports into the United States products that

    Practice the invention '873 Patent, including,for example the Jet Engines being used on
    Fleet Aircrafts, Boeing 777 GE9x,GE90 Jet Engines, Boeing 787 GEnx Jet Engines,
    Boeing 737 CFM56 Jet Engines, Boeing 747 GEnx Jet Engines, Boeing 767 GECF6 Jet
    Engines, A320 CFM56 Jet Engines, A330 GECF6 Jet Engines.Exhibits,1,2,3,4,5,6,7,8,9,10
    are Documentation ofthese infringements with Exhibits,3,4, provided patent infringement
    charts produced professionally by 3^'' party Consultants.

  60. American Airlines Group Incorporation has infringed and continues to infringe The '873
     Patent directly or through acts of contributory infringement or induced in violation Of35

                                                                                                   13
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 14 of 21 PageID #: 14




     U.S.C.§ 271. Wheneverjet engines are used they perform each and every step ofThe '873
     Patent. Accordingly, American Airlines Group Incorporation used these jet engines they
     directly infringed the '873 Patent in violation of35 U.S.C.§ 271 (a).
 61. American Airlines Group Incorporation's infringement has occurred with knowledge
    OfThe '873 Patent and has been willful.

 62. Mr. House is informed and believes, and on that basis alleges, that American Airlines

    Group Incorporation has gained profits by virtue of its infnngement ofThe '873 Patent.
  63. American Airlines Group Incorporation's acts ofinfnngement have caused damages to Mr.
     House,is entitled to recover from American Airlines Group Incorporated the damages
    Sustained by Mr. House as a result ofAmerican Airlines Group wrongful acts.


                                    FIFTH CLAIM FOR RELIEF


                    (Tnfrinpement ofthe "873 Patent bv Southwest Airlines Co.)
  64. Southwest Airlines Co., makes, markets, produces, distributes, uses, offers to sell, and/
    Or sells in The United States and or imports into The United States products that practice
    The invention '873 Patent,including for example the Jet Engines being used on fleet
    Aircrafls, Boeing 737 Family CFM56 Jet Engines, Boeing 737-700 CFM56 Jet Engines,
    Boeing 737-800 CFM56 Jet Engines, Boeing MAX 7 CFM LEAP Jet Engines, Boeing 737
    MAX 8 CFM LEAP Jet Engines, EXHIBITS,1,2,3,4,5,6,7,8,9,10 are documentation ofthese
    Infiingements with EXHIBITS,3,4,Provided patent infiingement claim charts produced
    Professionally by 3^'* party Consultants.
  65. Southwest Airlines Co. has infringed and continues to infringe The '873 Patent directly Or
      through acts ofcontributory infringement or induced in violation of35 U.S.C.§ 271.
      Wheneverjet engines are used they perform each and every step ofthe '873 Patent.
      Accordingly, Southwest Airlines Co. used these jet engines they directly infringed the '873
      Patent in violation of U.S.C. 35 § 271 (a).




                                                                                                  14
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 15 of 21 PageID #: 15




  66. Southwest Airlines Co. infringement has occurred with knowledge ofThe '873 Patent And
     has been willful.


  67. Mr. House is informed and believes, and on that basis alleges, that Southwest Airline Co.

    Has gained profits by virtue ofits infringement ofThe '873 Patent.
  68. Southwest Airlines Co. acts ofinfringement have caused damages to Mr. House,and Mr.
    House is entitled to recover from Southwest Airlines Co. the damages sustained by Mr.

    House as a result of Southwest Airlines Co.'s wrongful acts.



                                     SIXTH CLAIM FOR RELIEF

                         (Infringement of The '873 bv Southwest Airlines Co.)

  69. Delta Air Lines Inc. makes, markets, produces, distributes, uses, offers to sell, and/ or
    Sells in The United States and or imports into The United States products that practice the
    Invention '873 Patent, including,for example the Jet Engines being used on fleet Aircrafts,
    Airbus and Boeing Family Aircrafts, Boeing 737 NG/ MAX CFM LEAP Jet Engines,
    Airbus A319 CFM56 Jet Engines, A320 CFM56 Jet Engines, A321 CFM56 Jet Engines,
    A330 CF6 Jet Engines, Boeing 767 GE CF6 Jet Engines. EXHIBITS,1,2,3,4,5,6,7,8,9,10
    Are documentation ofthese infringements with EXHIBITS,3 4,Provided patent
    Infnngement claim charts produced professionally by 3'^ party Consultants. Southwest
    Airlines Co. has infringed and continues to infnnge the '873 Patent directly

    Or through acts of contributory infringement or induced in violation of35 U.S.C. § 271.

    Wheneverjet engines are used they perform each and every step ofthe '873 patent.

    Accordingly, Southwest Airlines Co. used the jet engines they directly infiingedthe '873

    Patent in violation of35 U.S.C. § 271 (a).

  70. Delta Airlines Inc. infringement has occurred with knowledge of The '873 Patent And has
      been willful.

  71. Mr. House is informed and believes, and on that basis alleges, that Delta Air Lines Inc.

    Has gained profits by virtue ofits infringement of The '873 Patent.

                                                                                                  15
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 16 of 21 PageID #: 16




  72. Delta Air Lines Inc. acts ofinfringement have caused damages to Mr. House, and Mr.
     House is entitled to recover from Delta Air Lines Inc. the Damages sustained by Mr. House

     as a result of Delta Air Lines Inc. wrongful acts.



                                 SEVENTH CLAIM FOR RELIER

                 (Infringement ofthe *873 Patent bv United Airlines Holdings Inc.)

 73. United Airlines Holdings Inc., markets, produces, distributes, sells, uses and/ or offers to
    Sell in The United States and/ or imports into The United States products that practice the
    Invention *873 Patent, including for example the Jet Engines being used on fleet Aircrafls,
    Boeing 787 GEnx and GE9x Jet Engines, EXHIBITS,1,2,3,4,5,6,7,8,9,10 are documentation

    Ofthese infringements with EXHIBITS,3,4,Provided patent infringement claim charts
    Produced professionally by 3^'' party Consultants.
 74. United Airlines Holdings Inc. has infringed and continues to infringe The *873 Patent
     Directly or through acts ofcontributory infiingement or induced in violation of35U.S.C.§
     271. Whenever jet engines are used they perform each and every step ofthe '873 Patent.
     Accordingly, United Airlines Holdings Inc. used these jet engines they directly infringed
     the *873 Patent in violation of35 U.S.C. § 271 (a).

 75. United Airlines Holdings Inc.'s infringement has occurred with knowledge ofthe *873

     Patent and has been willful.

 76. Mr. House is informed and believes, and on that basis alleges, that United Airlines

    Holdings Inc. has gained profits by virtue ofits infiingement ofThe *873 Patent.
 77. United Airlines Holdings Inc. acts ofinfiingement have caused damages to Mr. House,

     And Mr. House is entitled to recover from United Airlines Holdings Inc. the damages

    Sustained by Mr. House as a result of United Airlines Inc. wrongful acts.



                                    EIGHTH CLAIM FOR RELIEF

                (Infringement ofthe *873 Patent bv JetBlue Airwavs Incorporated)



                                                                                                    16
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 17 of 21 PageID #: 17




  78. JetBlue Airways Incorporated, makes, markets, produces, distributes, uses, offers to Sell,
     and/ or sells in The United States and or imports into The United States products

    That practice The invention '873 Patent, including. For example the Jet Engines being used
    on fleet aircrafls. Airbus A320 CFM56 Jet Engines, Airbus A321 CFM56 Jet Engines,

    Embraer El90 GE CF34 Jet Engines, EXHIBITS, 1,2,3,4,5,6,7,8,9,10 are documentation

    Ofthese infringements with EXHIBITS,3 ,4, Provided patent infringement claim charts
    Produced professionally by 3^** party Consultants.
  79. JetBlue Airways Incorporated has infringed and continues to infringe The '873 Patent

     Directly or through acts ofcontributory infringement or induced in violation of35 U.S.C. §
     271. Wheneverjet engines are used they perform each and every step ofthe '873 Patent.

     Accordingly, JetBlue Airways Incorporated used these jet engines they directly infringed
     the '873 Patent in violation of35 U.S.C. § 271 (a).

  80. JetBlue Airways Incorporated infnngement has occurred with knowledge of The '873
     Patent and has been willful.

  81. Mr. House is informed and believes, and on the basis alleges, that JetBlue Airways

    Incorporated has gained profits by virtue of its infringement ofThe '873 Patent.
 82. JetBlue Airways Incorporated acts ofinfringement have caused damages to Mr. House, And
    Mr. House is entitled to recover from JetBlue Airways Incorporated the damages sustained
    by Mr. House as a result of JetBlue Airways Incorporated wrongful acts.


                                     NINTH CLAIM FOR RELIEF

                        (Infringement ofthe '873 Patent bv Spirt Airlines Inc.)

  83. Spirit Airlines Inc., makes, markets, produces, distributes, uses, offers to sell, and/ or
    Sells in The United States and or imports into The United States products that practice the

    Invention '873 Patent, including,for example the Jet Engines being used on fleet Aircrafts,
    Airbus A320 CFM56 Jet Engines, Airbus A321 CFM56 Jet Engines, Boeing 737 CFM56
    Jet Engines. EXHIBITS, 1,2,3,4,5,6,7,8,9,10 are documentation ofthese infringements with



                                                                                                   17
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 18 of 21 PageID #: 18




    EXHIBITS,3,4,Provided patent infringement claim charts produced professionally by 3'^''
    Party Consultants.


  84. Spirt Airlines Inc., has infringed and continues to infringe The '873 Patent Directly or
     Through acts ofcontributory infringement or induced in violation of35 U.S.C. § 271.

  85. Whenever jet engines are used they perform each and every step ofthe '873 Patent.
      Accordingly, Spirt Airlines Inc. used the jet engines they directly infringed the '873

     Patent in violation of35 U.S.C. § 271 (a).

  86. Spirt Airlines Inc. infringement has occurred with knowledge of The'873 Patent and has
     been willful.

  87. Mr. House is informed and believes, and on the basis alleges, that Spirit Airlines Inc.

    Has gained profits by virtue ofits infringement of The '873 Patent.
  88. Spirit Airlines Inc. acts ofinfnngement have caused damages to Mr. House, and Mr.
    House is entitled to recover from Spirit Air Lines Inc. the damages sustained by Mr. House
    As a result of Spirt Airlines Inc. wrongful acts.


                                    TENTH CLAIM FOR RELIEF

                     (Infringement ofthe '873 Patent bv Eastern Airlines LLC.)

 89. Eastern Airlines LLC., makes, markets, produces, distributes, uses, offers to sell, and/ or
    Sells in The United States and or imports into The United States products that practice The

    Invention '873 Patent, including, for example the Jet Engines being used on fleet aircrafls,
    Boeing 767 GE CF6 Jet Engines, Boeing 777 GE90 Jet Engines. EXHIBITS,
    1,2,3,4,5,6,7,8,9,10 ARE Documentation ofthese infringements with EXHIBITS,3,4,

    Provided patent infringement claim charts produced professionally by 3^^ party Consultants.
 90. Eastern Airlines LLC. Has infringed and continues to infringe the '873 Patent Directly Or
 through acts of contributory infringement or induced in violation of35 U.S.C. § 271.
  Whenever jet engines are used they perform each and every step ofthe '873 Patent.



                                                                                                   18
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 19 of 21 PageID #: 19




  Accordingly, Eastern Airlines LLC. Used these jet engines they directly infringed the '873
  Patent in violation of35 U.S.C. § 271 (a).
  91. Eastern Airlines LLC infnngement has occurred with knowledge ofthe '873 Patent And
     has been willful. Mr. House is informed and believes, and on the basis alleges, that Eastern
     Airlines LLC.

    Has gained profits by virtue ofits infringement ofthe '873 Patent.

  92. Eastern Airlines LLC. Acts ofinfringement have caused damages to Mr. House,And Mr.
     House is entitled to recover from Eastern Airlines LLC. The damages sustained by Mr.

     House as a result ofEastern Airlines LLC. Wrongful acts. Eastern Airlines LLC. Acts of
     infringement will continue to damage Mr. House causing irreparable Harm,for Which
     there is no adequate remedy at law, unless enjoined by The Court.



                                      JURY TRIAL DEMAND

  93. Pursuant to Rule 38,Fed. R. Civ. P., Mr. House demands a trial by jury on all issues set

     forth herein that are properly triable to ajury.


                                       PRAYER FOR RELIEF

     WHEREFORE,Plaintiff Mr. House respectfully request that The Court, to grant the
    Following relief and to enterjudgement in favor of House as follows.
    A. A judgement that each of Defendants have directly, contributorily infringed and/ or
        Or induced the infringement ofthe '873 Patent;

    B. Awarding Mr. House damages adequate to compensate for injuries sustained as a
        Result of Defendants' infringement ofthe '873 Patent, but in no event less than a

        Reasonable royalty, together with interest thereon;

    C. Judgment that at least that at least Defendants General Electric Company,

        GE Aviation, GE Aerospace, CFM International, American Airlines Group Inc.,

        Southwest Airlines Co., Delta Air Lines Inc., United Airlines Holdings Inc.,



                                                                                                 19
Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 20 of 21 PageID #: 20




       JetBlue Airways Incorporated, Spirit Airlines Inc. and Eastern Airlines LLC

       Have willfully infringed the '873 Patent and awarding treble damages;

   D. A judgement that this case is exceptional and an award ofattorney fees and costs to

       Mr. House pursuant to 35 U.S.C. § 285; and

   E. Such other and further relief as the Court deemsjust and proper.




   Dated: December,28^,2022                          Respectfully I^ul^tt^,
                                             By:

                                                     lichael J. House

                                                    27855 California Dr. NW

                                                    Lathrup Village, MI.48076
                                                    1-248-979-0332

                                                    Plaintiff Michael J House




                                                                                            20
                                                               Case 1:23-cv-00071-LDH-LB Document 1 Filed 01/03/23 Page 21 of 21 PageID #: 21


                   ^ UNITED STATES                                            PRIORITY®                                                        PRIORITY MAIL
                                                                                                                                             POSTAGE REQUIRED

                      POSTAL SERVICE                                                     MAIL


  Expected delivery date specified for domestic use.                                        ,               I FROM:                                             ^
  Domestic shipments include $100 of Insurance (restrictions apply).*
                                                                                                                            ;r. wous£
  USPS Tracking® service included for domestic and many international destinations.
                                                                                                                 iTZfiSS' C.K\WoiLr\\€K^ft. MV
  Limited international insurance.**

  When used internationally, a customs declaration form is required.
                                                                                                                  LA+H tl\x9 VtWas^-. MlcVxigc
                                                      ; regarding claims
                                           ■^^^,e.usps.com.
•Insurance does nr^


                                                  , >m for availability and

                us POSTAGE PAID

P
                            Origin; d8072

                  $16.40 So.--                                                                  N                                 TO:        ffLO 'SB' C.
                                                                                                C \
          priority mail®                              iTIONAL USE
                                                                                 1
                                                                                                              ixWweX S+K?re^
                                       3 Lb 3.20 Oz

                                           RDC 04

expected delivery day: 01/03/23                                                                            ^;LSr CLoL<k(AK>i,TLA2A £Ar+
                                                                                                         .^(L&o/cLVk) tOBV/Van-k.
       225 CADMAN PLZ £
       BROOKLYN NY n20MB32
                                                                                                                        llSsO)
         "sps SIGNATURE® TRACKIN^^ if
                                                                                                            L                                                   j i

             9510 81U 5679 2365 9697 70^
                                                      * 15x2.75                                               VISIT us AT USPS.COM®
                                                                                                              ORDER FREE SUPPLIES ONLINE



                                                                                     nternational shipments, the maximum weight is 20 lbs.
